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IN THE UNITED sTATES DISTRICT coURT B¥~%L D'°-
wEsTERN DISTRICT oF TENNESSEE 05 JU
wESTERN DIvISION L H PH l¢= 145
UNITED sTATES oF AMERICA, agwah<jl(j)§}m;§icl ,
m .,M
vs. No. 05-20074-MaP

ARIANE GRANT,

Defendant.

 

ORDER OF TRANSFER

 

Upon the oral motion of the parties, this defendant is
transferred to the Court presiding over a related case in Which
this defendant is indicted. For good cause shown, the motion is
` granted and the above-styled case, only as to the defendant
Ariane Grant, is hereby transferred to Judge Bernice Donald in
exchange for an equivalent case. The co-defendants, Tammy Lewis
and Curtis Springer, will remain assigned to Judge Mays.

It is so ORDERED this llym\day of July, 2005.

MM/"'I/L_=_,_

SAMUEL H. MAYS, JR.
UNI'I‘ED STATES DISTRICT JUDGE

 

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UNITED S…ATEISTIC COUR - WTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
case 2:05-CR-20074 Was distributed by faX, mail, or direct printing on
July 14, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

